Case 4:09-cr-00194-ALM-BD           Document 393        Filed 09/15/11       Page 1 of 1 PageID #:
                                            1910




 UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §            CASE NO. 4:09-cr-194
                                                 §            Judge Crone
JAIME GONZALO CASTIBLANCO                        §
CABALCANTE (9)                                   §

               MEMORANDUM ADOPTING REPORT AND
       RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE
       Came on for consideration the report of the United States Magistrate Judge in this action, this

matter having been heretofore referred to the United States Magistrate Judge pursuant to 28 U.S.C.

§ 636. On September 2, 2011, the report of the Magistrate Judge was entered containing proposed

findings of fact and recommendations that Defendant’s Motion to Dismiss Indictment (Dkt. #286)

and Motion for Severance (Dkt. #287) should be denied.

       The Court, having made a de novo review of the objections raised by Defendant, is of the

opinion that the findings and conclusions of the Magistrate Judge are correct, and the objections are

without merit. Therefore, the Court hereby adopts the findings and conclusions of the Magistrate

Judge as the findings and conclusions of this Court. It is accordingly

       ORDERED Defendant’s Motion to Dismiss Indictment (Dkt. #286) and Motion for

Severance. (Dkt. #287) are DENIED.
        SIGNED at Beaumont, Texas, this 7th day of September, 2004.
        SIGNED at Beaumont, Texas, this 15th day of September, 2011.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE
